         Case 5:23-cv-00654-J Document 21 Filed 05/09/24 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF OKLAHOMA

(1) KELI A. PUEBLO,

                Plaintiff,
v.                                           Case No.: 23-cv-654-J

(2) STATE OF OKLAHOMA, ex rel.,
    OKLAHOMA SCHOOL OF SCIENCE
    AND MATHEMATICS,

                 Defendant.

                             ENTRY OF APPEARANCE

      To the Clerk of this Court and all parties of record:

      The undersigned enters her appearance as counsel in this case for Defendant:

State of Oklahoma, ex rel., Oklahoma School of Science and Mathematics.

      I certify that I am admitted to practice in this Court and am registered to file

documents electronically with this Court.

                                       Respectfully submitted,

                                        /s/ Lauren Ray
                                       LAUREN RAY, OBA#22694
                                       Assistant Attorney General
                                       Oklahoma Attorney General's Office
                                       Litigation Division
                                       313 NE 21st Street
                                       Oklahoma City, OK 73105
                                       Telephone: 405.521.3921
                                       Facsimile:      405.521.4518
                                       Email: lauren.ray@oag.ok.gov
                                       Attorney for Defendant
           Case 5:23-cv-00654-J Document 21 Filed 05/09/24 Page 2 of 2




                              CERTIFICATE OF SERVICE

        I hereby certify that on this 9th day of May 2024, I electronically transmitted the
foregoing document to the Clerk of the Court using the ECF System for filing. I further certify
that a true and correct copy of the foregoing document was sent via the ECF System to all
counsel of record who ae registered ECF participants.


                                           /s/ Lauren Ray
                                           Lauren Ray




                                            ~2~
